Case 4:21-cv-02155-YGR   Document 546-12   Filed 07/14/23   Page 1 of 87




                  Exhibit 10
     Case 4:21-cv-02155-YGR    Document 546-12         Filed 07/14/23   Page 2 of 87

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                            Page 1

 1                     UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                              SAN JOSE DIVISION
 4                                    ---oOo---
 5       BENJAMIN HEWITT, et al., on
         behalf of themselves and all
 6       others similarly situated,
 7                     Plaintiffs,
 8                            vs.                    No. 4:21-cv-02155-LHK-VKD
 9       GOOGLE LLC,
10                     Defendant.
         ____________________________/
11
12
13
14        ***HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY***
15
16
17
18                       VIDEOTAPED DEPOSITION OF
19                            CHRISTOPHER VALENCIA
20                  _________________________________
21                     WEDNESDAY, DECEMBER 14, 2022
22
23       REPORTED BY:     HOLLY THUMAN, CSR No. 6834, RMR, CRR
24       JOB NUMBER: 5620686
25

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     Case 4:21-cv-02155-YGR    Document 546-12       Filed 07/14/23   Page 3 of 87

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                                                                          Page 2

 1                                    --o0o--
 2              Videotaped deposition of CHRISTOPHER VALENCIA,
 3       taken by the Defendant, at COOLEY LLP, Three
 4       Embarcadero Center, 22nd Floor, San Francisco,
 5       California 94111, commencing at 9:12 A.M., on
 6       WEDNESDAY, DECEMBER 14, 2022, before me, HOLLY THUMAN,
 7       CSR, RMR, CRR.
 8                                    --o0o--
 9                                 APPEARANCES
10       FOR THE PLAINTIFFS AND THE PROPOSED CLASS:
11              DICELLO LEVITT LLC
                One Grand Central Place
12              60 E. 42nd Street, Suite 2400
                New York, New York 10165
13              By:     DAVID A. STRAITE, Attorney at Law
                        DStraite@dicellolevitt.com
14
15              DICELLO LEVITT LLC
                10 North Dearborn Street, Sixth Floor
16              Chicago, Illinois 60602
                By:     JAMES ULWICK, Attorney at Law
17                      JUlwick@dicellolevitt.com
18       FOR DEFENDANT:
19              COOLEY LLP
                Three Embarcadero Center, 22nd Floor
20              San Francisco, California 94111
                By:     WHITTY SOMVICHIAN, Attorney at Law
21                      wsomvichian@cooley.com
22       ALSO PRESENT:
23              TED HOPPE, Videographer
24
25

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     Case 4:21-cv-02155-YGR    Document 546-12       Filed 07/14/23   Page 4 of 87

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                          Page 3

 1                                  I N D E X
 2                            INDEX OF EXAMINATIONS
 3       EXAMINATION BY:                                                        PAGE
 4       MR. SOMVICHIAN                                                            6
 5       MR. STRAITE                                                             301
 6       MR. SOMVICHIAN                                                          302
 7                             --o0o--
 8               EXHIBITS MARKED FOR IDENTIFICATION
 9       NO.                 DESCRIPTION                                        PAGE
10       Exhibit 28    Ads Help - Control the ads you see                         197
                       (GOOG-HEWT-00001055 through -056)
11
         Exhibit 29       Google Privacy and Terms -                                 218
12                        Advertising (GOOG-HEWT-00000208
                          through -210)
13
         Exhibit 30       Google Ad Settings - Settings for                          225
14                        personalized ads
                          (GOOG-0HEWT-00456236)
15
         Exhibit 31       Web document, Google Account -                             230
16                        Activity controls
17       Exhibit 32       Web document, Google Account, Ad                           236
                          personalization
18
         Exhibit 32A      Screenshot                                                 269
19
         Exhibit 32B      Screenshot, Google Account, Ad                             285
20                        personalization
21       Exhibit 33       Document headed "Location"                                 242
22       Exhibit 34       Document headed "Cookies and other                         248
                          site data"
23
         Exhibit 34A      Screenshot headed "Cookies and other                       267
24                        site data"
25       (Cont'd)

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 5 of 87

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 4

 1       (Exhibits, cont'd)
 2       Exhibit 35    Document headed "General settings"                          248
 3       Exhibit 36    Document headed "Christopher Valencia                       259
                       - Syncing to            @gmail.com"
 4
         Exhibit 36A      Screenshot headed "Sync and Google                        268
 5                        Services"
 6       Exhibit 37       Document headed "Privacy and                             262
                          security"
 7
         Exhibit 38       Web printout, enterprise.com,                             275
 8                        "Reserve a Vehicle"
 9       Exhibit 39       Web printout, enterprise.com, Privacy                    279
                          Preference Center
10
11                             --o0o--
12              PREVIOUSLY MARKED EXHIBITS REFERENCED
13       NO.                 DESCRIPTION                                           PAGE
14       Exhibit 4     Previously marked                                            118
         Exhibit 5     Previously marked                                            143
15       Exhibit 6     Previously marked                                            153
         Exhibit 7     Previously marked                                            193
16       Exhibit 8     Previously marked                                            195
         Exhibit 9     Previously marked                                            163
17
18                             --o0o--
19       INSTRUCTIONS TO WITNESS/REQUESTS TO MARK TRANSCRIPT
20                                        PAGE    LINE
21            Instruction not to answer   130       16
22                             --o0o--
23
24
25

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     Case 4:21-cv-02155-YGR    Document 546-12       Filed 07/14/23   Page 6 of 87

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                                                                          Page 5

 1                      SAN FRANCISCO, CALIFORNIA
 2                     WEDNESDAY, DECEMBER 14, 2022
 3                                  9:12 A.M.
 4                                    --o0o--
 5                               PROCEEDINGS
 6                  THE VIDEO OPERATOR:            Good morning.        We are
 7       going on the record.         The time now is 9:12 on
 8       December 134, 2022.
 9                  This is Media Unit 1 in the video-recorded
10       deposition of Christopher Valencia in regards to
11       the Google RTB Consumer Privacy Litigation,
12       Case Number 4:21-CV-02155-YGR-VKD.                  This video
13       deposition is taking place at Cooley LLP, Three
14       Embarcadero Center, 20th floor, San Francisco,
15       California 94111.
16                  My name is Ted Hoppe.             I am the
17       videographer.        I represent Veritext.
18                  Counsel, could you please voice identify
19       yourselves for the record.
20                  MR. SOMVICHIAN:         Yeah.       Whitty Somvichian
21       with Cooley.     I'm representing Google today.
22                  MR. STRAITE:        Good morning.          David Straite
23       from DiCello Levitt, representing the plaintiff.
24                  MR. ULWICK:       Good morning.           James Ulwick,
25       also here on behalf of the plaintiff.

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     Case 4:21-cv-02155-YGR    Document 546-12       Filed 07/14/23   Page 7 of 87

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                                                                          Page 6

 1                   THE VIDEO OPERATOR:           The court reporter
 2       today is Holly Thuman.
 3                   Holly, could you please swear the witness
 4       in.
 5                                    --o0o--
 6                            CHRISTOPHER VALENCIA,
 7                   _________________________________
 8              called as a witness, having been first duly
 9              sworn, was examined and testified as follows:
10                                  ---oOo---
11                   THE VIDEO OPERATOR:           Please proceed.
12                      EXAMINATION BY MR. SOMVICHIAN
13       BY MR. SOMVICHIAN:
14              Q.   Good morning, Mr. Valencia.              I just
15       introduced myself a few minutes ago.                 I'm
16       representing Google today.
17                   You were just given an oath.               You
18       understand that that's the same type of oath that
19       you would take in a court of law?
20              A.   Yes.
21              Q.   And you understand you are obligated to
22       provide truthful, accurate answers to the best of
23       your ability today?
24              A.   Yes.
25              Q.   Is there any reason you can't do that?

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     Case 4:21-cv-02155-YGR    Document 546-12       Filed 07/14/23     Page 8 of 87

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                                                                              Page 9

 1              A.   I -- no.    I did become an armed security
 2       guard, but I'm not necessarily sure that's a trade
 3       or anything.
 4              Q.   Are you currently employed, sir?
 5              A.   Yes.
 6              Q.   What's your job today?
 7              A.   I work as an armed security guard for a
 8       private company.
 9              Q.   How long have you been doing that?
10              A.   Security I've done since 2010.                   Armed
11       security I've done since 2018.
12              Q.   Okay.     Do you hold any kind of
13       certification or license that allows you to do
14       that?
15              A.   Yes.     I -- I do have an exposed carry
16       permit.
17              Q.   What did you do before 2010?
18                   MR. STRAITE:       Objection.           Vague.
19       BY MR. SOMVICHIAN:
20              Q.   Jobwise.
21              A.   That was actually the year I got out of
22       the Marines.
23              Q.   Okay.     Mr. Valencia, how did you get
24       involved in this case initially?
25                   Can you just walk me through how you

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                                                                       Page 10

 1       became a plaintiff in this case?
 2                   MR. STRAITE:      And I would also instruct
 3       the witness, while you should answer this question,
 4       please don't reveal conversations you had with
 5       counsel.
 6                   THE WITNESS:      It started with an ad on
 7       Facebook.
 8       BY MR. SOMVICHIAN:
 9              Q.   Describe the ad for me, please.
10              A.   I don't remember what the ad said.
11              Q.   I don't need exact terminology, but just
12       the gist of it that you can recall.
13              A.   The ad said something to the effect of --
14       that Google was selling personal information.
15              Q.   Okay.    Was -- it was an advertisement.
16       Right?
17              A.   Yes.
18              Q.   It was an advertisement from lawyers?
19              A.   Yes.
20              Q.   It says something about Google selling
21       personal information, as far as you can remember?
22              A.   Yes.
23              Q.   Did it include some sort of link or a way
24       to contact lawyers?
25              A.   Yes.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 10 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 11

 1              Q.   Okay.    What did you do after seeing this
 2       ad?
 3              A.   I responded by clicking the ad.
 4              Q.   Okay.    Where did that take you?
 5              A.   It took me to a website where I input my
 6       name and email.
 7              Q.   Okay.    Did that website have any other
 8       information about the nature of the Google issue?
 9              A.   I don't remember.
10              Q.   Anything else you remember about the
11       website that you accessed and where you entered
12       your contact info?
13              A.   No.
14              Q.   What happened then, after providing your
15       info?
16                   I assume somebody reached out to you?
17              A.   Yes.
18              Q.   How?
19              A.   Via a phone call.
20              Q.   Okay.    In that phone call at that point in
21       that first conversation, were you seeking legal
22       advice?
23              A.   No.
24                   MR. STRAITE:      Objection.           Calls for legal
25       conclusion.

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 11 of 87

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                                                                         Page 12

 1       BY MR. SOMVICHIAN:
 2              Q.   Tell me what -- tell me what -- well,
 3       strike that.
 4                   Who reached out to you?
 5              A.   James.    James Ulwick.
 6              Q.   I want to focus on that conversation in
 7       which you've explained you were not at that point
 8       in time yet seeking legal advice.
 9                   Tell me about --
10                   MR. STRAITE:       Objection.           Misstates
11       earlier testimony.
12       BY MR. SOMVICHIAN:
13              Q.   What did Mr. Ulwick say to you on that
14       initial phone call?
15                   MR. STRAITE:       And I caution you not to
16       reveal advice of counsel.
17                   THE WITNESS:       He explained to me some
18       details about the case.
19       BY MR. SOMVICHIAN:
20              Q.   How long was that phone call?
21              A.   It wasn't long.        It couldn't have been any
22       more than 10 or 15 minutes.
23              Q.   When did all this happen, by the way?
24                   What year?
25              A.   This year.     2022.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 12 of 87

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                                                                       Page 13

 1              Q.    2022?   Are you sure about that?
 2              A.    Yes.
 3              Q.    What else do you recall about that first
 4       phone call?
 5              A.    I remember asking James a few questions
 6       about what the case was about.
 7              Q.    And what did you come to understand based
 8       on that information?
 9              A.    I learned the full extent of what Google
10       was doing.
11              Q.    What was that, as you understood it at
12       that time, based on the conversation?
13              A.    That they were selling personal
14       information.
15              Q.    Okay.   We'll get into the details of that,
16       but I want to focus on what you understood based on
17       that specific call.
18                    Do you remember any other details that you
19       took away from that call about Google's practices?
20                    MR. STRAITE:     Again, I caution the witness
21       only to answer questions about that first phone
22       call.      Any understandings you have based on
23       conversations with counsel thereafter, you do not
24       need to reveal.
25                    THE WITNESS:     I don't remember -- I don't

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 13 of 87

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                                                                        Page 14

 1       remember learning how bad the situation was with
 2       Google.
 3       BY MR. SOMVICHIAN:
 4              Q.   What do you remember learning about in
 5       that phone call?
 6              A.   The -- what I remember is that Google was
 7       saying that they would not sell our personal
 8       information but then turned around and did so.
 9              Q.   Anything else you recall from that initial
10       phone call?
11              A.   No.
12              Q.   How did you react to the information that
13       you learned?
14                   MR. STRAITE:      Objection.           Vague.
15       BY MR. SOMVICHIAN:
16              Q.   You can answer.
17              A.   I was pretty surprised.
18              Q.   What specifically surprised you?
19              A.   At the time, it was just surprising that
20       they did something that they said they wouldn't do.
21              Q.   Did you ask any questions in that phone
22       call?
23              A.   Yes.
24              Q.   What did you ask?
25                   MR. STRAITE:      Again, if you were seeking

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 14 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 15

 1       advice of James Ulwick, you should not reveal what
 2       you asked him.
 3                   THE WITNESS:      I don't remember.
 4       BY MR. SOMVICHIAN:
 5              Q.   Okay.    After this phone call, what did you
 6       do as it relates to Google?
 7                   MR. STRAITE:      Objection.           Vague.
 8                   THE WITNESS:      I -- I don't remember.
 9       BY MR. SOMVICHIAN:
10              Q.   Let me ask you a more specific question.
11                   After the call, did you try to do any of
12       your own research or investigation into what you
13       had just been told to see whether it was accurate
14       or to get more context?
15              A.   I do believe I looked up the lawsuit using
16       Google.
17              Q.   Okay.    What did you find?
18              A.   I found an article that I don't remember
19       the title of at this point.
20              Q.   What was the gist of the article that you
21       found?
22              A.   That Google was selling personal
23       information that they continuously said in their
24       terms of service that they would not sell.
25              Q.   How did you find this article?                 Using a

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 15 of 87

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                                                                       Page 16

 1       Google search?
 2              A.   Yes.
 3              Q.   Other than this article that you found,
 4       did you do anything else after your conversation
 5       with Mr. Ulwick relating to what you had learned?
 6              A.   No.
 7              Q.   At what point did you decide to become a
 8       plaintiff in this case?
 9              A.   I don't remember.
10              Q.   Did you have other conversations with
11       Mr. Ulwick or other lawyers about the Google issues
12       before you decided to become a plaintiff in the
13       case?
14              A.   No.
15              Q.   Okay.    What was the next communication
16       that you had with anybody, whether it was
17       Mr. Ulwick or other attorneys, about this matter,
18       after this initial phone call?
19              A.   The only thing I remember is just waiting
20       for another -- another call for email from
21       James Ulwick.
22              Q.   Okay.    And at some point, you got that
23       follow-up?
24              A.   Yes.
25              Q.   Was that a phone call or an email?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 16 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 17

 1              A.   I don't remember.
 2              Q.   What was the subject of the communication,
 3       whether it was a phone call or an email?
 4                   MR. STRAITE:      Again, instruct the witness,
 5       you don't need to reveal any legal advice from
 6       counsel.
 7                   THE WITNESS:      Can I hear the question
 8       again?
 9       BY MR. SOMVICHIAN:
10              Q.   Yeah.    What was the general subject of the
11       second communication that you got?
12              A.   I believe it was just more details about
13       the case.      I really don't remember at that point
14       what else I needed to do.
15              Q.   At this point, had you decided to be a
16       plaintiff in the case?
17              A.   I -- I don't remember.
18              Q.   Okay.    At what point did you decide to
19       participate in this case as a plaintiff?
20                   MR. STRAITE:      Objection.           Asked and
21       answered.
22       BY MR. SOMVICHIAN:
23              Q.   You can answer if you can estimate a time.
24              A.   It is possible that by then, I did decide
25       to become a plaintiff; but for sure, it couldn't

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 17 of 87

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                                                                        Page 18

 1       have been any past, like, the fourth or fifth call
 2       or email.
 3              Q.   Okay.    So there may have been four or five
 4       communications that you had with counsel before you
 5       decided to participate in the case as a plaintiff?
 6              A.   At best, I believe so, but it may well
 7       have been less.
 8              Q.   Okay.    And in those communications,
 9       without telling me the details, you were receiving
10       additional information about the -- the allegations
11       in the case.       Is that fair?
12              A.   From James Ulwick, yes.
13              Q.   Were you also doing your own independent
14       research or investigation or looking up information
15       about the case apart from whatever was being
16       conveyed to you by Mr. Ulwick?
17              A.   No.
18              Q.   And other than that one article that you
19       found that you described to me earlier.                    Right?
20              A.   Yes.
21              Q.   Okay.    You didn't know Mr. Ulwick before
22       he reached out to you about this case.                 Right?
23              A.   No.
24              Q.   Did you know any of your current lawyers
25       before they started representing you in this class

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 18 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 19

 1       action?
 2              A.   No.
 3              Q.   For example, you never knew Mr. Straite
 4       before this case.       Right?
 5              A.   No.
 6              Q.   Had you had any interaction with the law
 7       firms that are currently representing you before
 8       this case?
 9              A.   No.
10              Q.   For example, do you know any of the law
11       firms?
12                   Could you name them?
13              A.   No.
14              Q.   Okay.    Does the firm Pritzker Levine sound
15       familiar to you?
16              A.   I probably saw them on paperwork, but past
17       that, I don't know them.
18              Q.   Okay.    Have you ever interacted with
19       anybody that you understood to be from that firm?
20              A.   No.
21              Q.   What about the firm Simmons
22       Hanly & Conroy, in New York City?
23              A.   No.
24              Q.   You don't know that firm?
25              A.   No.

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 19 of 87

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                                                                        Page 21

 1              Q.   Okay.    Other than Mr. Ulwick and before
 2       whatever meetings or interactions you had for this
 3       deposition, have you interacted with any other
 4       lawyers relating to this case?
 5              A.   No.
 6              Q.   Okay.    So you described to me some number
 7       of communications.
 8                   It may have been four or five; it may have
 9       been less.      Right?
10              A.   Yes.
11              Q.   And those were all with Mr. Ulwick?
12              A.   During the initial conversations, yes.
13              Q.   Okay.    And at some point in that sequence
14       of communications, you decided to participate in
15       this case as a plaintiff.            Right?
16              A.   Yes.
17              Q.   Okay.    So I want to focus on the time
18       period from that point to when you started
19       preparing for your deposition.               Okay?
20                   So in that span of time, is Mr. Ulwick the
21       only person that you interacted with in this case?
22              A.   No.
23              Q.   Who else did you interact with?
24              A.   I don't remember their name at this point,
25       but there was another person.

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 20 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 22

 1              Q.   And what was the general nature of that
 2       interaction, without revealing to me the substance
 3       of any actual discussions?
 4              A.   There was a Zoom meeting.
 5              Q.   It was about this case?
 6              A.   Yes.
 7              Q.   In general, how often have you interacted
 8       with any lawyers about this case in between the
 9       time you decided to become a plaintiff and when you
10       started preparing for this deposition?
11              A.   I kept in contact with James throughout
12       the case.
13              Q.   Right.     I'm asking, how frequently?
14              A.   I contacted him once about every
15       two weeks, I believe.
16              Q.   Okay.     So as far as you can recall, you've
17       been in contact with Mr. Ulwick roughly every
18       couple weeks.        Is that about right?
19                   MR. STRAITE:       Objection.           Misstates the
20       earlier question and testimony.
21       BY MR. SOMVICHIAN:
22              Q.   Go ahead.
23              A.   I believe so, yes.
24              Q.   Did you sign an engagement agreement, some
25       form of agreement, relating to your role as a

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 21 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 23

 1       plaintiff in this case between you and your
 2       attorneys?
 3              A.   Yes.
 4              Q.   Based on that agreement, do you have some
 5       expectation of what compensation you might get in
 6       this case?
 7              A.   Yes.
 8              Q.   And what is that?
 9              A.   The only compensation that I know I'm
10       guaranteed is the same as any other person affected
11       by this lawsuit.
12              Q.   Okay.    So you have some understanding that
13       you're representing other people who have been
14       affected by the lawsuit.          Is that right?
15              A.   Yes.
16              Q.   And it's your understanding, based on
17       whatever engagement agreement you have with
18       counsel, that whatever you might receive would just
19       be the same as everybody else that's involved?
20              A.   Yes.
21              Q.   Have you ever been involved in any other
22       litigation, Mr. Valencia?
23              A.   No.
24              Q.   And just to be clear, either as a
25       plaintiff like you are here or as a defendant where

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 22 of 87

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                                                                       Page 26

 1                   Or -- I'm sorry, I don't understand.
 2              A.   They were sending emails to an email
 3       address that I don't really check, and I never made
 4       the correction.       By the time I realized that they
 5       were still sending me emails, they had already
 6       moved on.
 7              Q.   I see.    So you wanted to participate in
 8       that case, but there was just a miscommunication
 9       where you weren't receiving updates or outreach
10       from those lawyers.
11                   Is that accurate?
12              A.   Yes.
13              Q.   Were any of those lawyers -- strike that.
14                   How did you get in contact with those
15       lawyers?
16                   Did they also reach out to you through
17       some ad, similar to what happened here?
18              A.   Yes.
19              Q.   Okay.    Are any of those lawyers that you
20       interacted with in that other prior matter also
21       involved in this case?
22              A.   I do not believe they are.
23              Q.   What did you do to prepare for today's
24       deposition, Mr. Valencia?
25              A.   I went over some paperwork with my

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 23 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 27

 1       attorneys.
 2              Q.   Is that Mr. Straite and Mr. Ulwick, who
 3       are here today?
 4              A.   Yes.
 5              Q.   When did you meet with them?
 6                   MR. STRAITE:      Objection.           Misstates prior
 7       testimony.
 8       BY MR. SOMVICHIAN:
 9              Q.   When did you go over paperwork with them?
10              A.   There was a meeting we had yesterday.
11              Q.   Did you have any other prior meetings with
12       your lawyers related to this deposition before the
13       meeting yesterday?
14              A.   Yes.
15              Q.   When was that?
16              A.   I don't remember the exact date.               I do
17       believe it was sometime last week.
18              Q.   What was the nature of the paperwork that
19       you went over?
20              A.   I don't think I can name anything
21       specific.
22              Q.   Was it related to your computing devices,
23       the computer and so forth?
24              A.   Yes.
25              Q.   Where do you live, by the way,

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 24 of 87

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                                                                        Page 28

 1       Mr. Valencia?
 2                   I don't need an address, but just the
 3       city.
 4              A.   Southgate, California.
 5              Q.   Okay.    You have a Google account.              Right?
 6              A.   That's right.
 7              Q.   Do you recall -- well, strike that.
 8                   Is that the Google account associated with
 9       the Gmail address                      @gmail.com?
10              A.   Yes.
11              Q.   So you created that Gmail account
12       yourself?
13              A.   Yes.
14              Q.   And you also created your Google account
15       yourself?
16              A.   Yes.
17              Q.   Do you recall generally the time frame
18       when you did that?
19              A.   I believe it was in 2009.
20              Q.   Do you recall anything about the
21       circumstances of why you were creating a Google
22       account at the time or what you were planning to
23       use it for or anything around the account creation?
24                   MR. STRAITE:      Objection.           Vague.
25       //

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 25 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 37

 1       used Bing.
 2              Q.   Would you say that you use Google Search
 3       predominantly and Bing occasionally?
 4                   How would you describe the relative, you
 5       know, proportion of how often you use Google Search
 6       versus Bing?
 7              A.   The vast majority of my time, I use
 8       Google.
 9              Q.   Okay.    Do you use Google Chrome?
10              A.   Yes.
11              Q.   How often do you use Google Chrome?
12                   Is that the primary web browser that you
13       use?
14                   MR. STRAITE:      Objection.           Compound.
15       Objection.      Calls for speculation.
16                   THE WITNESS:      The vast majority of my time
17       on line is usually with Chrome.
18       BY MR. SOMVICHIAN:
19              Q.   I should probably ask about the computing
20       devices you use.
21                   You mentioned you have an Android.
22                   Is that a Samsung Galaxy?
23              A.   That's right.
24              Q.   That's what you currently have?
25              A.   Yes.

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 26 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 38

 1              Q.   Is your current device the same one that
 2       was provided to your counsel to create a forensic
 3       image?
 4              A.   Yes.
 5              Q.   And on that Samsung, you use Chrome?
 6              A.   Yes.
 7              Q.   Chrome was preinstalled on that device, I
 8       assume?
 9              A.   Yes.
10              Q.   And what other computing devices do you
11       use?
12              A.   A Samsung tablet and a Windows computer.
13              Q.   Do you know the model of the tablet?
14              A.   It was called a "Samsung Galaxy Tab A."
15              Q.   What about the Windows computer?
16              A.   It was from a brand called CLX Gaming.
17              Q.   CLX?
18              A.   Yes.     For clarification, that's actually
19       the current name of the brand.
20                   The brand that I used at the time was
21       still called "Cybertron PC."              The "C" in CLX stands
22       for Cybertron.
23              Q.   Are you talking about two different
24       computers or the same computer --
25              A.   The --

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 27 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                         Page 39

 1              Q.   Hold on -- actually, go ahead.
 2              A.   The computer I owned was Cybertron PC.                  I
 3       just wanted to clarify that the -- if you look for
 4       the brand, it's currently called "CLX Gaming."
 5                   MR. STRAITE:       And just to remind the
 6       witness -- I'm sure counsel will agree with me --
 7       any time counsel is speaking, let him finish so we
 8       don't talk over each other so Holly will be happy.
 9                   THE WITNESS:       Sorry.
10       BY MR. SOMVICHIAN:
11              Q.   No problem.
12                   But we're talking about the same computer;
13       just the name of the company changed.
14              A.   That's right.
15              Q.   All right.     Is that one of them souped-up
16       gaming computers with a tricked-out video card,
17       graphics card?
18                   MR. STRAITE:       Objection.           Vague and
19       colorful.
20                   THE WITNESS:       It used to be that.
21       BY MR. SOMVICHIAN:
22              Q.   Okay.
23              A.   It's obsolete now.
24              Q.   Is Chrome installed on that Windows
25       computer?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 28 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 40

 1              A.   Yes, it is.
 2              Q.   And do you still actively use that
 3       computer?
 4              A.   Yes.
 5              Q.   How long have you had it?
 6              A.   Since about 2016, I believe.
 7              Q.   Okay.    What do you use your tablet for?
 8              A.   Primarily for reading and watching videos.
 9              Q.   Chrome is installed on that tablet?
10              A.   Yes.
11              Q.   Okay.    And you typically stay signed in to
12       your Google account when you're using the tablet?
13              A.   Yes.
14              Q.   Same with the Windows computer, the
15       Cybertron PC?
16              A.   Yes.
17              Q.   Same with your Galaxy phone?
18              A.   Yes.
19              Q.   Were the tablet and the Windows computer
20       also provided to counsel for purposes of creating a
21       forensic image in this case?
22              A.   Yes.
23              Q.   And the devices that you provided for
24       purposes of creating a forensic image are still the
25       devices that you currently use?

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 29 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 41

 1              A.   Yes.
 2              Q.   Your employer doesn't give you, like, a
 3       phone or other computing device for work, do they?
 4              A.   When I'm on site, there is a work phone,
 5       but I don't take it home.
 6              Q.   What do you use it for at work?
 7                   Or do you use it at work?
 8              A.   It's primarily used for an app called
 9       "Tracktic."
10              Q.   Have you ever used that device for
11       personal web browsing?
12              A.   No.
13              Q.   Okay.    I assume you use the internet every
14       day?
15              A.   Yes.
16              Q.   What -- just very generally speaking, what
17       are the things that you access the Internet for?
18              A.   Watching movies, reading emails.                I look
19       up a lot of different news articles and historical
20       documents.
21              Q.   Shopping?
22              A.   Yes.
23              Q.   Gaming?
24              A.   Yes.
25              Q.   Social media?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 30 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 68

 1              A.   Yes.
 2              Q.   So your short-lived use of the VPN didn't
 3       have anything to do with this case.                Right?
 4              A.   Yes.
 5              Q.   Yes, it did not have anything to do with
 6       this case.
 7              A.   That's right.
 8              Q.   Okay.
 9                   MR. STRAITE:      Could we not ask the
10       question as a negative, maybe?
11                   MR. SOMVICHIAN:       Yeah.
12              Q.   You didn't use the VPN because of any
13       privacy-related concern.          Right?
14              A.   Not at the time.
15              Q.   Since that time where you used a VPN that
16       you just described, have you used a VPN since?
17              A.   A few times, yes.
18              Q.   Okay.    Describe those to me, please.
19              A.   After I first learned the extension of how
20       they were -- how Google -- or what Google was
21       doing, I thought I should give the VPN another use
22       to see how much it would help.
23                   And, honestly, it didn't do much, but I
24       did use it a few times, and ultimately, I had to
25       stop because, again, it did slow my Internet down

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 31 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 69

 1       by a lot.
 2              Q.   When did you use this VPN?
 3                   MR. STRAITE:      Objection.           Vague.
 4                   THE WITNESS:      I used it maybe three or
 5       four times, starting sometime this year.                    I don't
 6       remember.
 7       BY MR. SOMVICHIAN:
 8              Q.   What were you expecting it to do?
 9              A.   All I know is that, simply put, it was
10       better than nothing.        The -- just somehow make
11       myself more private.
12              Q.   Okay.    But then when you started using it,
13       it wasn't doing what you wanted.               Right?
14              A.   Yes.
15              Q.   How did you -- how did you make that
16       determination?
17              A.   I continued to see targeted ads.
18              Q.   What -- describe any ads that you can
19       recall that made you think you were still receiving
20       targeted ads.
21                   MR. STRAITE:      Objection.           Calls for
22       speculation.
23                   THE WITNESS:      There were still ads that
24       were picking up on search terms that I had looked
25       for.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 32 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 70

 1       BY MR. SOMVICHIAN:
 2              Q.   Can you give me an example?
 3                   MR. STRAITE:      Objection.           Calls for
 4       speculation.
 5                   THE WITNESS:      There were a few ads for
 6       various Xbox-related products that I saw.
 7       BY MR. SOMVICHIAN:
 8              Q.   After you had searched for Xbox --
 9              A.   Yes.
10              Q.   -- or Xbox terms or products?
11              A.   Yes.
12              Q.   Is it fair to say that part of what you
13       were hoping to achieve by using the VPN was to stop
14       seeing targeted ads?
15              A.   Yes.
16              Q.   And that was a concern of yours related to
17       this litigation?
18              A.   Yes.
19              Q.   Okay.    And the VPN also slowed down your
20       system.     Right?
21              A.   Yes.
22              Q.   And that was one of the reasons why you
23       stopped using it.       Right?
24              A.   Yes.
25              Q.   Have you used a VPN since?

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 33 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                         Page 89

 1       Objection.      Vague.
 2                   THE WITNESS:       Can I get the question
 3       again?
 4       BY MR. SOMVICHIAN:
 5              Q.   I'll just simplify it.
 6                   What do you understand this case to be
 7       about and the specific things that you are alleging
 8       Google to be doing that you believe are wrongful?
 9                   MR. STRAITE:       Objection.           Compound.
10                   THE WITNESS:       That Google is selling
11       personal information that they said they would not
12       sell to third parties.
13       BY MR. SOMVICHIAN:
14              Q.   Can you tell me anything more specific
15       than that?
16              A.   I can't think of anything.
17              Q.   Okay.    So, for example, when you say
18       "selling information to third parties," can you say
19       anything more about who these third parties are in
20       your allegations?
21                   MR. STRAITE:       Objection.           Calls for
22       speculation.
23                   THE WITNESS:       I do recall one ad that I'm
24       still seeing right now for a -- a sweater called
25       "Baerskin."

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 34 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 90

 1                   I saw an ad that was most likely targeted
 2       to me at random, but because I Googled it, now it's
 3       targeting me on a fairly regular basis to the point
 4       where it's just gotten annoying.
 5       BY MR. SOMVICHIAN:
 6              Q.   Okay.    So, just to be clear, I'm not
 7       asking you to identify specific third parties, like
 8       some specific business, for example; but in
 9       general, who do you understand the third parties to
10       be when you are alleging that Google is selling
11       information to third parties?
12                   MR. STRAITE:      Objection.           Calls for
13       speculation.      Calls for expert testimony.
14                   THE WITNESS:      That much, I don't know.
15       BY MR. SOMVICHIAN:
16              Q.   Do you have any understanding or are you
17       making any allegation from this case, Mr. Valencia,
18       about how these third parties are using the
19       information that they're allegedly receiving?
20                   MR. STRAITE:      Objection.           Vague.
21       Objection.      Calls for speculation.
22                   THE WITNESS:      My understanding is that my
23       attorneys have information on who my information
24       was being sold to.
25       //

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 35 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 91

 1       BY MR. SOMVICHIAN:
 2              Q.   Okay.    So, now, moving on from the who.
 3       Okay?
 4                   Now I'm asking whether you have any
 5       understanding as to how the information is being
 6       used as it relates to your allegations in this
 7       case.
 8                   MR. STRAITE:      Same objections.
 9                   THE WITNESS:      I believe my information is
10       being used in a -- in some type of auction and sold
11       to various organizations.
12       BY MR. SOMVICHIAN:
13              Q.   Okay.    Do you have any understanding as to
14       how those organizations are using this information
15       that you believe is being sold to them?
16                   MR. STRAITE:      Same objections.
17                   THE WITNESS:      I don't fully understand it.
18       BY MR. SOMVICHIAN:
19              Q.   And when you say "personal information,"
20       can you be more specific, Mr. Valencia, in terms of
21       what you mean by that?
22              A.   Things that I -- that if anything should
23       be private, it does encompass pretty much
24       everything that I've seen.
25                   But more specifically, I know that

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 36 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 92

 1       there -- that they've been gathering information
 2       with regards to ethnic background, health, and even
 3       things like sexual orientation.
 4              Q.   Okay.    I want to be really, really precise
 5       here because I want to understand what you're
 6       alleging against my client.
 7                   So the personal information that you
 8       believe Google is selling, first of all, are things
 9       that you believe should be private.                  Is that right?
10              A.   Yes.
11                   MR. STRAITE:      Objection.           Vague.
12       BY MR. SOMVICHIAN:
13              Q.   And that includes your ethnic background,
14       your health status, and sexual orientation as
15       examples.      Right?
16                   MR. STRAITE:      Objection.           Misstates prior
17       testimony.
18                   THE WITNESS:      Yes.
19       BY MR. SOMVICHIAN:
20              Q.   Okay.    Other than those three categories,
21       can you think of other categories of personal
22       information that you believe are part of what
23       Google is improperly selling to third parties?
24                   MR. STRAITE:      Objection.           Calls for expert
25       testimony.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 37 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 93

 1                   THE WITNESS:      I do believe I've seen
 2       things with regards to political organizations as
 3       well.
 4       BY MR. SOMVICHIAN:
 5              Q.   Anything else?
 6              A.   I can't think of anything.
 7              Q.   Does the acronym "RTB" mean anything to
 8       you?
 9              A.   Yes.
10              Q.   What does "RTB" mean to you?
11              A.   Real-time bid.
12              Q.   What is your understanding of what a
13       real-time bid -- strike that.
14                   Was your understanding of how RTB relates
15       to the allegations you're bringing in this case?
16                   MR. STRAITE:      Objection.           Calls for expert
17       testimony.
18                   THE WITNESS:      My understanding is that
19       Google conducts auctions to sell information in a
20       very short amount of time.
21       BY MR. SOMVICHIAN:
22              Q.   Okay.    And the information that you're
23       referring to there, is the information that you
24       just described to me in the last set of questions
25       including things like ethnic background and sexual

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 38 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 94

 1       orientation?
 2              A.   Yes.
 3              Q.   Okay.    Is there anything else,
 4       Mr. Valencia, that you understand about RTB and how
 5       it relates to this case?
 6                   MR. STRAITE:      Objection.           Vague.
 7       Objection.      Calls for expert testimony.
 8                   THE WITNESS:      Can I hear the question
 9       again?
10       BY MR. SOMVICHIAN:
11              Q.   Yeah.    Other than what you've already
12       explained to me, is there anything that you
13       understand about what RTB is and how it relates to
14       this case?
15                   MR. STRAITE:      Same objections.
16                   THE WITNESS:      Nothing that I haven't
17       already said.
18       BY MR. SOMVICHIAN:
19              Q.   Do you have any understanding,
20       Mr. Valencia, of how your case relates to online
21       advertising?
22                   MR. STRAITE:      Objection.           Vague.
23       Objection calls for expert testimony.
24                   THE WITNESS:      I feel I do have some
25       understanding.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 39 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 95

 1       BY MR. SOMVICHIAN:
 2              Q.   Okay.    Please explain that to me.
 3              A.   Google repeatedly says that they will not
 4       sell my data or personal information to third
 5       parties but has done so anyway.
 6              Q.   Okay.    What does that have to do with
 7       advertising?
 8                   MR. STRAITE:      Objection.           Same objections
 9       as before.
10                   THE WITNESS:      The information is being
11       sold to other organizations to in turn make
12       targeted ads.
13       BY MR. SOMVICHIAN:
14              Q.   Okay.    All right.       So maybe I wasn't
15       asking the question well earlier, Mr. Valencia, but
16       I had previously asked you whether you had an
17       understanding of how the information was being used
18       in your allegations, and you previously
19       explained -- or previously answered that you
20       weren't sure.
21                   Now you're explaining that as you
22       understand this case, the information that Google
23       is selling, you believe, is then used for targeted
24       ads.
25                   Is that right?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 40 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 96

 1                   MR. STRAITE:      Objection.           Misstates prior
 2       testimony.
 3                   THE WITNESS:      Yes.
 4       BY MR. SOMVICHIAN:
 5              Q.   Okay.    You described to me your
 6       understanding of the type of personal information
 7       that's at issue in the case.             I just want to make
 8       sure we have a clear record on what you view that
 9       to be.
10                   We've talked earlier, Mr. Valencia, about
11       IP addresses.
12                   Are IP addresses part of the personal
13       information that you're saying Google improperly
14       sold to third parties?
15                   MR. STRAITE:      Objection.           Calls for expert
16       testimony.
17                   THE WITNESS:      Can I hear the question
18       again?
19       BY MR. SOMVICHIAN:
20              Q.   Yeah.    Are you alleging in this case,
21       Mr. Valencia, that part of the personal information
22       that you believe Google is selling to third parties
23       includes IP addresses?
24              A.   Yes.
25              Q.   Okay.    So let me go back to my prior

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 41 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 97

 1       question when I was trying to get from you the most
 2       complete list that you can give me, Mr. Valencia,
 3       of what you believe is part of the personal
 4       information that's being allegedly sold in this
 5       case.
 6                   You described various things to me like
 7       ethnic background and sexual orientation, and now
 8       you're adding IP address to the list.                  Is that
 9       right?
10              A.   Yes.
11              Q.   Okay.    So what else is part of personal
12       information?
13                   MR. STRAITE:      Objection.           Calls for expert
14       testimony.
15                   THE WITNESS:      I don't fully understand
16       the -- the technical terms, but I do know that
17       there are certain data like the IP address and
18       cookies present on my computer or other electronic
19       devices that are being collected and then sold.
20                   MR. STRAITE:      And, Counsel, we've been
21       going more than an hour.          I know you have a line of
22       questions.      I'm not asking to stop at this moment,
23       but we would like a break at the most logical spot.
24       BY MR. SOMVICHIAN:
25              Q.   Okay.    So let me make sure I understand

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 42 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                       Page 98

 1       your position on IP addresses.              Okay, Mr. Valencia?
 2                   If an advertiser pays Google to advertise
 3       on line to people in some approximate location like
 4       a city, based on an IP address, but the advertiser
 5       doesn't get any information to tie that IP address
 6       to somebody's specific Google account, they just
 7       get the IP address and the approximate location, is
 8       that something you're complaining about in this
 9       case?
10                   MR. STRAITE:      Objection.           Calls for expert
11       testimony.      Objection.     Calls for answer to a
12       hypothetical from a nonexpert witness.                  Objection.
13       Vague.
14                   THE WITNESS:      Yes.
15       BY MR. SOMVICHIAN:
16              Q.   Yes, that is part of what you're
17       complaining about in this case?
18              A.   Yes.
19                   MR. STRAITE:      Same objections.
20                   And to the witness, please let me get my
21       objections in before you respond.
22                   THE WITNESS:      Sorry.
23       BY MR. SOMVICHIAN:
24              Q.   And your answer is yes, even if the IP
25       address as it's provided to an advertiser isn't

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 43 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 99

 1       tied to your Google account or some --
 2                   MR. STRAITE:      Same --
 3                   MR. SOMVICHIAN:       Go ahead.
 4                   MR. STRAITE:      Same objections.
 5                   THE WITNESS:      Yes.
 6       BY MR. SOMVICHIAN:
 7              Q.   If the only thing that an advertiser knows
 8       that -- is that it's placing an ad and showing it
 9       to somebody in a particular city and they don't
10       know anything else about you or your information in
11       your Google account, how is that personal
12       information?
13                   MR. STRAITE:      Objection.           Argumentative.
14       Objection.      Calls for expert testimony.                Objection.
15       Asks for hypotheticals.
16                   THE WITNESS:      I very much feel that no
17       matter what, this information is still private, and
18       Google should not be selling it.
19       BY MR. SOMVICHIAN:
20              Q.   But it's shared and accessible by the
21       websites that you visit.          Right?
22                   MR. STRAITE:      Objection.           Argumentative.
23       Objection.      Calls for speculation and expert
24       testimony.
25                   THE WITNESS:      Yes.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 44 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 100

 1       BY MR. SOMVICHIAN:
 2              Q.   And since you understand that a website
 3       that you visit can receive your IP address, do you
 4       think it would also be wrongful for that website to
 5       use the IP address or share it with an advertiser?
 6                   MR. STRAITE:      Same objections.
 7                   THE WITNESS:      Yes.
 8       BY MR. SOMVICHIAN:
 9              Q.   What if you agreed to a term with that
10       website or the website had terms explaining that it
11       can use IP address in that way?
12                   Would that change your view?
13                   MR. STRAITE:      Objection.           Vague.
14       Objection.      Incomplete hypothetical.              Calls for a
15       hypothetical from a nonexpert witness.
16                   THE WITNESS:      Yes.
17       BY MR. SOMVICHIAN:
18              Q.   Why?
19                   MR. STRAITE:      Same objections.
20                   THE WITNESS:      The websites that I
21       previously mentioned, specifically the message
22       boards, never had targeted ads to the extent of
23       what's going on now, if at all.
24       BY MR. SOMVICHIAN:
25              Q.   Okay.    We also earlier talked about an

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 45 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 101

 1       example where an ad was shown to you related to the
 2       subject matter of the website that you were
 3       viewing.
 4                   Do you recall that example that you gave
 5       me, sir?
 6              A.   I'm not sure.
 7              Q.   I think an example was seeing an ad for
 8       USCCA, maybe on a firearms-related website.
 9                   Do you recall that example?
10              A.   Yes.
11              Q.   So if an advertiser is receiving
12       information about the type of website or the
13       subject matter of the website on which it can show
14       an ad but it doesn't otherwise get information
15       about somebody's Google account information, is
16       that still something that you're complaining about
17       in this case?
18                   MR. STRAITE:       Objection.           Incomplete
19       hypothetical.        Objection.      Vague.
20                   THE WITNESS:       Yes.
21       BY MR. SOMVICHIAN:
22              Q.   Okay.     I want to be clear about the
23       example I'm having -- I'm asking you to consider.
24       Okay?
25                   So in the example that we talked about

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 46 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 102

 1       earlier, the firearms website, and USCCA was the ad
 2       that was shown to you, if the advertiser only knows
 3       that we have an opportunity to show an ad to
 4       somebody who was on a firearms-related website and
 5       they don't otherwise have information about you or
 6       from your Google account, is that still personal
 7       information in any way?
 8                   MR. STRAITE:      Objection.           Calls for a
 9       legal conclusion.       Objection.        Calls for expert
10       testimony and an incomplete hypothetical.
11                   THE WITNESS:      Yes.
12       BY MR. SOMVICHIAN:
13              Q.   Explain to me why you think that is still
14       personal information.
15                   MR. STRAITE:      Same objections, plus
16       argumentative.
17                   THE WITNESS:      In my opinion, Google says
18       that they're not going to sell it; and, therefore,
19       these ads, if anything, need to stop.
20                   Since they haven't stopped, I wanted to
21       know what they were even doing with my information.
22       BY MR. SOMVICHIAN:
23              Q.   Does information have to be private, in
24       your view, to be part of what you're considering as
25       personal information in this case?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 47 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 103

 1                   MR. STRAITE:      Objection.           Vague.
 2       Objection.      Calls for a legal conclusion.
 3                   THE WITNESS:      In my opinion, my
 4       information needs to be private or, if anything,
 5       they need to start sharing the profit that they're
 6       making off of my information.
 7       BY MR. SOMVICHIAN:
 8              Q.   I don't understand that.
 9                   Can you explain that to me?
10              A.   I know that they're making money often of
11       selling personal information, like such as the
12       information I've mentioned before, where they sell
13       to organizations in return for targeted ads, and I
14       feel that since I don't expect them to stop sharing
15       that information and then stopping the targeted
16       ads, then they need to share a portion of the
17       profits that they get from the realtime bids.
18              Q.   Okay.    Thank you for that answer.              It
19       wasn't quite what I was asking.
20                   I'm trying to understand what your view is
21       of the relationship between personal information
22       and private information.
23                   MR. STRAITE:      Is there a question there?
24       BY MR. SOMVICHIAN:
25              Q.   Yeah.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 48 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 104

 1                   MR. STRAITE:      What is the question?
 2                   MR. SOMVICHIAN:       What is the relationship
 3       in his understanding of the concept of personal
 4       information and the concept of private information.
 5                   MR. STRAITE:      Objection.           Calls for a
 6       legal conclusion.       Objection.        Calls for expert
 7       testimony.
 8                   THE WITNESS:      I don't draw out that much
 9       of a distinction between the two.                  If I am looking
10       for a certain type of clinic that I don't want
11       people to know about, in my opinion, there's really
12       not that much different from me looking into
13       something such as a concealed-carry permit.
14                   Both of those scenarios have information
15       that I wouldn't want people to know about, and
16       therefore should not exist, even as ads.
17       BY MR. SOMVICHIAN:
18              Q.   Is it your understanding and allegation in
19       this case, Mr. Valencia, that Google was sharing
20       ethnic background as part of the RTB process?
21                   MR. STRAITE:      Objection.           Compound.
22       Objection.      Calls for expert testimony.
23                   THE WITNESS:      I feel that they are, yes.
24       BY MR. SOMVICHIAN:
25              Q.   Is it your allegation that Google is

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 49 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 105

 1       sharing sexual orientation information through RTB?
 2                   MR. STRAITE:      Same objections.
 3                   THE WITNESS:      As I understand it, yes.
 4       BY MR. SOMVICHIAN:
 5              Q.   Same thing with political organizations.
 6                   Are you alleging in this case that RTB
 7       shares information about people's political
 8       organizations?
 9                   MR. STRAITE:      Same objections.
10                   THE WITNESS:      Yes.
11                   MR. STRAITE:      And, Counsel, we asked you
12       for a break more than 10 minutes ago.                  We gave you
13       the courtesy of finding a logical spot, but it's
14       been a while.
15                   MR. SOMVICHIAN:       Okay.       We'll break soon.
16              Q.   What about health-related information,
17       Mr. Valencia?
18                   Are you alleging that Google shares
19       people's private health information through
20       Google RTB?
21                   MR. STRAITE:      Objection.           Vague.
22       Objection.      Calls for speculation.
23                   THE WITNESS:      Yes.
24       BY MR. SOMVICHIAN:
25              Q.   Do you have any basis for your allegations

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 50 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 112

 1                    Are you alleging in this case, sir, that
 2       you were ever shown an ad based on your sexual
 3       orientation?
 4                    MR. STRAITE:     And I'm going to instruct
 5       the witness you don't need to disclose your sexual
 6       orientation in this hearing -- in this room.                   I'm
 7       sorry.
 8                    THE WITNESS:     Without saying my own sexual
 9       orientation, I can say that I have looked up
10       different things in regards to rights that people
11       should have that we shouldn't even be discussing,
12       and I did see ads for organizations to help people
13       of certain sexual orientations.
14       BY MR. SOMVICHIAN:
15              Q.    When you searched for that information,
16       did you use Google Search?
17                    Is that what you have in mind?
18              A.    Yes.
19              Q.    And where did you see these ads?              Strike
20       that.      Let me take it in steps.
21                    And after performing that search, you saw
22       ads shown to you that you perceived to be for
23       organizations related to the things that you had
24       searched for?
25              A.    Yes.

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     Case 4:21-cv-02155-YGR    Document 546-12        Filed 07/14/23   Page 51 of 87

                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 113

 1              Q.     And how soon after your search did you
 2       start seeing these ads?
 3              A.     I can't say.       I'm fairly certain, though,
 4       it was -- it had to have been a reasonably short
 5       amount of time.        Not even a month passed.
 6              Q.     Where did you see these ads that you have
 7       in mind?
 8              A.     Same places as before:             Things like
 9       YouTube, Facebook, Google.
10              Q.     Were any of the websites on which you saw
11       these ads websites where the subject matter was
12       related to the organization or the issues that you
13       had searched for?
14              A.     Not every time.
15              Q.     But sometimes?
16              A.     Sometimes.
17              Q.     Okay.   So, in some instances, you saw ads
18       for organizations based on these issues that you
19       searched for, and you saw them on completely
20       unrelated websites like YouTube, but sometimes you
21       saw them on websites where the subject matter of
22       the website was related to the organization in some
23       way.       Fair?
24              A.     Yes.
25              Q.     What about your political views?

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 52 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                         Page 114

 1                   Are you alleging in this case that Google
 2       showed you ads based on your political views?
 3              A.   Yes.
 4              Q.   All right.     Tell me about why you believe
 5       that happened.
 6              A.   This one, I have something more specific
 7       to state.
 8                   There have been some very click-baity ads
 9       that I saw that were complete opposite of what my
10       political beliefs are, and why these ads were
11       targeted to me at all, I have no idea.
12                   I can say that the administration at the
13       time was somebody I was very much opposed to, so
14       it's -- I can imagine that these ads were just
15       there to try to get the word out; but in my
16       opinion, they were -- they were worded in a way
17       that was purposely annoying.
18              Q.   Are you blaming Google for any of this?
19                   MR. STRAITE:       Objection.           Calls for
20       speculation.
21                   THE WITNESS:       I personally feel that
22       Google sold this in a very -- sold the ad space in
23       a very inappropriate way.
24       BY MR. SOMVICHIAN:
25              Q.   Okay.    Do you have any idea whether this

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 53 of 87

                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                         Page 116

 1              Q.     How?
 2              A.     There are certain political beliefs I hold
 3       that make medical ads inappropriate just in their
 4       own existence.
 5                     For me personally, though, what it came
 6       down to was it was advertising a medication that I
 7       was likely never to use because, as I said this
 8       before, I do have the VA, so I don't need to rely
 9       on any outside organizations to provide me with
10       medication.
11              Q.     Okay.   So maybe the ads were irrelevant to
12       you.       But were they offensive to you?              That's my
13       question.
14              A.     Yes.
15              Q.     Why?
16              A.     In a certain way.
17                     MR. STRAITE:     Objection.           Asked and
18       answered.
19                     THE WITNESS:     The ads were offensive in
20       that they seemed to assume a lot about a person's
21       health and didn't necessarily reflect what I feel
22       about -- about medication and what I needed.
23       BY MR. SOMVICHIAN:
24              Q.     What about the ads that you saw before
25       some organization having to do with some sexual

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 54 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 117

 1       orientation issue?       Was it offensive to you to see
 2       those ads?
 3                   MR. STRAITE:      Again, I'm instructing the
 4       witness, you do not need to reveal your sexual
 5       orientation in this room.
 6                   THE WITNESS:      I didn't feel that they were
 7       necessarily offensive so much as why it needed to
 8       exist in the first place.           The idea that a person's
 9       rights should be taken away is fairly offensive to
10       me.
11       BY MR. SOMVICHIAN:
12              Q.   Okay.    This issue about some -- a person's
13       rights being taken away, that has to do with the
14       underlying political or other issues that you were
15       interested in.       That doesn't have anything to do
16       with Google.      Right?
17                   MR. STRAITE:      Objection.           Argumentative.
18                   THE WITNESS:      In my opinion, the ads were
19       capitalizing on a problem that shouldn't exist.
20       The ads themselves were only being put out for the
21       purposes of making money off of something that
22       really shouldn't have existed in the first place.
23       BY MR. SOMVICHIAN:
24              Q.   So other than these categories that we've
25       talked about, are there other categories of

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 55 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 119

 1       was shown to me previously.
 2              Q.   Okay.    Do you have any understanding of
 3       the purpose of that document in this case?
 4              A.   Can I hear the question again?
 5              Q.   Do you have any understanding of the
 6       purpose of that document in this case?
 7              A.   I know this has information as to what --
 8       what was being done with personal information by
 9       Google and how they were selling that information.
10              Q.   Anything else that you understand about
11       what this document is and what its purpose might be
12       in this litigation?
13              A.   Information on Google and their real-time
14       bids.
15              Q.   Do you know what a complaint is, by any
16       chance?
17              A.   No.
18              Q.   Do you know if this was something that was
19       filed with the court on your behalf?
20              A.   Yes.
21              Q.   What do you understand about that?
22              A.   The complaint detailed how Google will not
23       sell any personal information to anyone and
24       detailing what information was sold.
25              Q.   Did you review this document?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 56 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 120

 1              A.   A little bit, yes.
 2              Q.   What do you mean by "a little bit"?
 3              A.   Specifically, I did read the part that I'm
 4       included in.
 5              Q.   Any other parts?
 6              A.   There was one part that I can't find.                 I
 7       had looked through a bit.
 8              Q.   Can you describe the subject matter of the
 9       additional parts that you may have reviewed?
10              A.   Oh, besides the introduction.              I did read
11       the introduction a little bit.              And this is the
12       part that I -- that I was thinking of.
13              Q.   Okay.    And for the record, you're pointing
14       to a graphic that appears on page 5?
15              A.   Yes.
16              Q.   Okay.    So you recall reviewing the
17       introduction a little bit.            You recall reviewing
18       this graphic on page 5, and you recall some
19       allegations that were specific to you.                 Correct?
20              A.   Yes.
21              Q.   Okay.    Anything else in this document?
22              A.   I can't think of anything.
23              Q.   Okay.    Can you turn to page 12, please?
24                   And I'm using the pages at the bottom.
25                   There's also page numbers at the top, but

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 57 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 121

 1       you can ignore this.
 2              A.   So I'm at the right place?
 3              Q.   You're at the right place.             Okay.
 4                   So paragraph 39 -- let's start over.
 5                   You see the numbered paragraphs --
 6              A.   Yes.
 7              Q.   -- Mr. Valencia?
 8                   So paragraph 39, that refers to you.
 9       Right?
10              A.   Yes.
11              Q.   It says you've used a Chrome browser.                 I
12       think that's accurate.         I think you've confirmed
13       that for us.
14              A.   Yes.
15              Q.   The next sentence reads:
16                   "In order to become a Google account
17              holder, Plaintiff Valencia was required to
18              indicate he agreed to uniform conditions
19              drafted and set forth exclusively by Google
20              that governed the relationship between him
21              and Google."
22                   Do you see that?
23              A.   Yes.
24              Q.   That's accurate too?
25              A.   Yes.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 58 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 122

 1              Q.   And you did have an understanding when you
 2       created your Google account that you accepted some
 3       terms and policies that govern your relationship
 4       with Google.       Correct?
 5                   MR. STRAITE:      Objection.           Calls for a
 6       legal conclusion.
 7                   THE WITNESS:      Yes.
 8       BY MR. SOMVICHIAN:
 9              Q.   Okay.    Can you read paragraph 40 to
10       yourself, Mr. Valencia, and let me know when you're
11       done?
12                   And my question is just going to be, for
13       starters, whether the information in there is
14       accurate.
15              A.   (Reviewing document.)
16                   Okay.
17              Q.   Okay.    Is the information in paragraph 40
18       accurate as far as you understand it?
19              A.   Yes.
20              Q.   In the first sentence, it refers to
21       "Valencia's personal information."
22                   Do you see that?
23              A.   Yes.
24              Q.   Is that the types of information that
25       you've described for me today that you are alleging

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 59 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 123

 1       to be your personal information?
 2              A.   Yes.
 3              Q.   Can you go to the very first page, please?
 4       Just the cover.
 5                   MR. STRAITE:      Counsel, do you mean --
 6       which page?      You mean the second page?
 7                   You're in the right page.
 8       BY MR. SOMVICHIAN:
 9              Q.   So for the record, we're at the second
10       page of the exhibit, but it's just the caption page
11       that lists counsel and some other information about
12       this matter.
13                   Do you see a list there in bold text
14       naming some law firms?
15                   Do you see that?
16              A.   Yes.
17              Q.   Who do you understand those firms to be?
18                   MR. STRAITE:      Objection.           Compound.
19                   THE WITNESS:      Other firms representing --
20       on behalf of people who use Google services.
21       BY MR. SOMVICHIAN:
22              Q.   Are they representing you?
23                   MR. STRAITE:      Objection.           Calls for a
24       legal conclusion.
25                   THE WITNESS:      One law firm is.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 60 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 124

 1       BY MR. SOMVICHIAN:
 2              Q.   What's that?
 3              A.   DiCello Levitt Gutzler.
 4              Q.   And you understand that firm to be
 5       representing you.
 6              A.   Yes.
 7              Q.   Right under that block of text under
 8       "DiCello Levitt," it says, in italicized text:
 9                   "Counsel for Plaintiffs in the proposed
10              class."
11                   Do you see that, sir?
12              A.   Yes.
13              Q.   Do you have an understanding of what the
14       term "plaintiffs" means in this context?
15              A.   Yes.
16              Q.   Tell me what your understanding is.
17              A.   A plaintiff is the person who brought up
18       the lawsuit, and I'm one of them in this case.
19              Q.   Okay.    And then it refers to a, quote,
20       "proposed class."
21                   Do you see that?
22              A.   Yes.
23              Q.   Do you have any understanding of what that
24       refers to?
25              A.   Yes.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 61 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 125

 1              Q.   What is that?
 2              A.   Essentially, anyone who uses Google
 3       services.
 4              Q.   Okay.    What Google services are included
 5       in the scope of what you just explained to me?
 6              A.   Things such as Gmail, YouTube, Google
 7       devices, Google Chrome, Google Maps, any types of
 8       services that people tend to use when using Google
 9       products.
10              Q.   Okay.    If somebody uses Google Chrome
11       without having a Google account, are they part of
12       the proposed class, as you understand it, in how
13       you just described it to me?
14                   MR. STRAITE:      Objection.           Calls for a
15       legal conclusion.
16                   THE WITNESS:      I -- I believe so.
17       BY MR. SOMVICHIAN:
18              Q.   It says -- same question:               If somebody
19       uses Google Maps but they don't have a Google
20       account, they're still part of the proposed class
21       in the way that you understand it?
22                   MR. STRAITE:      Objection.           Calls for a
23       legal conclusion.
24                   THE WITNESS:      I believe yes.
25       //

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 62 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 126

 1       BY MR. SOMVICHIAN:
 2              Q.   Okay.    In the middle of the page, you see
 3       some text identifying the court, United States
 4       District Court, and it goes on.
 5                   Do you see that?
 6              A.   Yes.
 7              Q.   Okay.    And below there, there is a
 8       reference to "Benjamin Hewitt, et al., on behalf of
 9       themselves and all others similarly situated."
10                   Do you see that?
11              A.   Yes.
12              Q.   Do you have an understanding of who
13       Benjamin Hewitt is?
14              A.   I believe that's another plaintiff such as
15       myself.
16              Q.   Okay.    And when that phrase refers to "all
17       others similarly situated," what's your
18       understanding of what that means?
19                   MR. STRAITE:      Objection.           Calls for a
20       legal conclusion.
21                   THE WITNESS:      Can I hear the question
22       again?
23       BY MR. SOMVICHIAN:
24              Q.   Yeah.    You see the text that reads, quote,
25       "On behalf of" -- strike that.

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 63 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 127

 1                   You see there's a reference to
 2       "plaintiffs"?        You see that?
 3              A.   Yes.
 4              Q.   And it's your understanding that you are a
 5       plaintiff?
 6              A.   Yes.
 7              Q.   Okay.     And above that, it says, quote, "on
 8       behalf of themselves and all others similarly
 9       situated."
10                   Do you see that?
11              A.   Yes.
12              Q.   Okay.     So my question to you is:             What's
13       your understanding of who is within the group of
14       people, quote, "all others similarly situated"?
15                   MR. STRAITE:       Objection.           Calls for a
16       legal conclusion.
17                   THE WITNESS:       I am -- myself and other
18       plaintiffs are acting on behalf of anyone else who
19       uses Google devices and services.
20       BY MR. SOMVICHIAN:
21              Q.   What does it mean to you to be acting on
22       behalf of those people?
23                   MR. STRAITE:       Objection.           Calls for a
24       legal conclusion.
25                   THE WITNESS:       We are acting so that not

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 64 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 128

 1       everyone has to come to something like this.
 2       BY MR. SOMVICHIAN:
 3              Q.   Do you have an understanding of any
 4       obligations that you might have in your role as
 5       somebody acting on behalf of others?
 6                   MR. STRAITE:      Objection.           Calls for a
 7       legal conclusion.
 8                   THE WITNESS:      Yes.
 9       BY MR. SOMVICHIAN:
10              Q.   What's that?
11              A.   The main one is just being here today.
12              Q.   Anything else?
13              A.   Providing information from things like my
14       phone, my computer, tablet, that sort of thing.
15              Q.   And you've done that?
16              A.   Yes, I have.
17              Q.   And anything else that you understand to
18       be part of your obligations in your role of acting
19       on behalf of others?
20                   MR. STRAITE:      Objection.           Calls for a
21       legal conclusion.
22                   THE WITNESS:      Can I hear the question
23       again?
24       BY MR. SOMVICHIAN:
25              Q.   Yeah.    Is there anything else that you

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 65 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 129

 1       understand to be part of the obligation that you
 2       have now that you're acting on behalf of other
 3       people?
 4                   MR. STRAITE:      Same objection.
 5                   THE WITNESS:      Other than speaking to my
 6       attorneys, I can't think of anything.
 7       BY MR. SOMVICHIAN:
 8              Q.   Okay.    In terms of speaking to your
 9       attorneys, that so far has consisted of
10       communicating mostly with Mr. Ulwick.                  Is that
11       right?
12                   MR. STRAITE:      Objection.           Misstates
13       earlier testimony.
14                   THE WITNESS:      That's right.
15       BY MR. SOMVICHIAN:
16              Q.   And you ballparked that for me earlier as
17       maybe once every few weeks?
18              A.   That's right.
19              Q.   So when you saw this document before,
20       without telling me any details of any
21       communications, did you ask any questions about it?
22                   MR. STRAITE:      I also caution the witness,
23       you can answer that as phrased, but any
24       conversations between you and counsel are
25       privileged.

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 66 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 130

 1                   But the question as asked is appropriate.
 2                   THE WITNESS:       Can I hear the question
 3       again?
 4       BY MR. SOMVICHIAN:
 5              Q.   Yeah.    Did you ask any questions to your
 6       lawyers about this document that you have in front
 7       of you?
 8              A.   I did.    I did ask questions.
 9              Q.   How many?
10                   MR. STRAITE:       Okay.      And I'm instructing
11       the witness not to answer anything more regarding
12       the conversation with counsel.
13                   MR. SOMVICHIAN:        I'm just asking about the
14       number --
15                   MR. STRAITE:       I'm instructing the witness.
16       BY MR. SOMVICHIAN:
17              Q.   Did you provide any comments about the
18       document, without revealing to me what those
19       comments were?
20              A.   Nothing comes to mind.
21              Q.   Okay.    And the portions of the document
22       that you reviewed are what you described to me
23       earlier.      Correct?
24              A.   I believe, yes.
25              Q.   Did you approve this document to be filed

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 67 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 131

 1       on your behalf?
 2              A.   Yes.
 3              Q.   Do you feel like you understand the legal
 4       claims of and causes of action in the case, or is
 5       that something you're relying on your lawyers for?
 6                   MR. STRAITE:      Objection.           Calls for a
 7       legal conclusion.
 8                   THE WITNESS:      I mostly relied on my
 9       lawyers for this.
10       BY MR. SOMVICHIAN:
11              Q.   Can you turn to paragraph 30, which is on
12       page 10?
13                   Are you there?
14              A.   Yeah.
15              Q.   Okay.    First of all, this isn't part of
16       what you had previously reviewed; right?                   This
17       paragraph wasn't part of what you described to me
18       earlier?
19              A.   It was not.
20              Q.   Okay.    So it reads:
21                   "Plaintiffs bring this class action" --
22                   Actually, let's just pause right there.
23                   What's your understanding of what a class
24       action is, Mr. Valencia?
25                   MR. STRAITE:      Objection.           Calls for a

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 68 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 132

 1       legal conclusion.
 2                   THE WITNESS:      A class action lawsuit, as I
 3       understand it, is a lawsuit brought in by a number
 4       of people affected in similar ways.
 5       BY MR. SOMVICHIAN:
 6              Q.   Okay.    And here, what are the similar ways
 7       that impact the people that you're seeking to
 8       represent?
 9                   MR. STRAITE:      Same objection.
10                   THE WITNESS:      People who are affected had
11       Google accounts that had their personal information
12       sold.
13       BY MR. SOMVICHIAN:
14              Q.   You see that it goes on and says:
15                   "Plaintiffs bring this class action on
16              behalf of themselves and all Google account
17              holders in the United States whose personal
18              information was sold or otherwise disclosed
19              by Google without their authorization."
20                   And it goes on to describe the claims in
21       the case.
22                   Do you see that?
23              A.   Yes.
24              Q.   Do you have an understanding of what the
25       phrase "without their authorization" means and why

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 69 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 133

 1       it's in here?
 2                   MR. STRAITE:      Objection.           Calls for a
 3       legal conclusion.
 4                   THE WITNESS:      The information was sold
 5       without my permission.
 6       BY MR. SOMVICHIAN:
 7              Q.   You agree that somebody who did give
 8       permission wouldn't be part of this group of people
 9       in the way that it's defined here?
10                   MR. STRAITE:      Objection.           Calls for a
11       legal conclusion.
12                   THE WITNESS:      I do believe that's right.
13       BY MR. SOMVICHIAN:
14              Q.   Are you aware of any ways in which
15       somebody could give permission or authorize the use
16       of their information?
17              A.   Can I hear the question again?
18              Q.   Are you aware of any ways in which a
19       Google account holder browsing on the Internet
20       could give permission to or authorize the use of
21       their information?
22                   MR. STRAITE:      Objection.           Vague.
23                   THE WITNESS:      I would only guess this in
24       that if there was somehow to explicitly say that
25       Google had permission to do so from the user.

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                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 134

 1       BY MR. SOMVICHIAN:
 2              Q.   Okay.    And from that situation that you
 3       have in mind, where that has occurred, that person
 4       wouldn't be part of the group in the way that it's
 5       defined in paragraph 30.          Fair?
 6                   MR. STRAITE:      Objection.           Vague.
 7       Objection.      Calls for a legal conclusion.
 8                   THE WITNESS:      I believe that that's right.
 9       BY MR. SOMVICHIAN:
10              Q.   Can you give me any examples that you have
11       in mind of that kind of situation?
12                   MR. STRAITE:      Objection.           Vague.
13       Objection.      Calls for a legal conclusion.
14                   THE WITNESS:      My understanding is that
15       when a contract is binding, that makes it so that
16       the contract must be followed.
17                   And, therefore, in this case, the contract
18       specifically states -- the terms of agreement state
19       that our information, personal information, was not
20       being sold but then did get sold.
21                   If there was a way for a user to agree to
22       sell that information somehow, then they would not
23       be a part of this; but, as I understand it, there
24       is no way.
25       //

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 71 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 143

 1       reviewed and portions that you did not review.
 2                   Do you recall also seeing attached
 3       documents that were exhibits to the complaint?
 4                   Does that sound familiar at all to you?
 5              A.   I -- I believe yes.
 6              Q.   What do you recall about being aware of
 7       any complaints -- I mean, strike that.
 8                   What do you recall about seeing any
 9       exhibits to the complaint?
10              A.   What I recall is that they looked similar
11       to this document.
12              Q.   Okay.    Let me just show you one.
13                   So this was -- this was previously marked
14       as Exhibit 5 in a prior deposition.
15                   (Previously marked Exhibit 5 was
16                   presented to the witness.)
17       BY MR. SOMVICHIAN:
18              Q.   So I'll represent to you, Mr. Valencia,
19       that this document you have in front of you, if you
20       look on the very first page, it says "Exhibit 4."
21              A.   Yes.
22              Q.   So it's a little confusing.             I want to
23       make sure we don't get off-track here.
24                   So it was Exhibit 5 in a prior deposition,
25       but it was Exhibit 4 as attached to the complaint

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 72 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 144

 1       that was filed on your behalf.              Okay?
 2              A.   Okay.
 3              Q.   And you can see the blue text at the very
 4       top there, kind of similar to what you see on the
 5       complaint.
 6                   Do you see that?
 7              A.   Yes.
 8              Q.   Okay.    So if you flip into Exhibit 4, you
 9       can see at the very top left, it says "Google Terms
10       of Service."
11                   But before we talk about the terms of
12       service, in looking at Exhibit 4, does that jog
13       your memory at all as to any prior review of the
14       exhibits to your complaint that you may have done?
15              A.   Yes.
16              Q.   What do you recall now?
17              A.   Well, I can say that I've -- I saw
18       something similar before on Google.
19              Q.   So I'm -- strike that.
20                   You explained to me that you saw some
21       version of your complaint before it was filed.
22       Right?
23              A.   Yes.
24              Q.   Okay.    In connection with that review of
25       the complaint, do you also recall reviewing the

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 73 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 145

 1       exhibits to the complaint?
 2              A.   Yes.
 3              Q.   Okay.    Did you actually read them?
 4                   MR. STRAITE:      Objection.           Vague.
 5                   THE WITNESS:      I don't believe I actively
 6       sat and read them.
 7       BY MR. SOMVICHIAN:
 8              Q.   Okay.    So in looking at Exhibit 4, it's
 9       the Google Terms of Service.
10                   Based on what you just said, fair to say
11       you didn't read the entirety of the exhibit at the
12       time that you reviewed the complaint?
13              A.   That's right.
14              Q.   But it sounds like you have a memory of
15       maybe looking at the Google Terms of Service
16       before, maybe unrelated to the litigation.                   Is that
17       right?
18              A.   That's right.
19              Q.   Okay.    What's your recollection of any
20       prior time that you reviewed the Google Terms of
21       Service?
22              A.   I remember reading something in regards to
23       specifically apps and sites.             I can say I remember
24       searching Maps and Google Play.
25              Q.   Okay.    So you've now flipped forward into

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 74 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 156

 1              Q.   Okay.    The first part of that, the
 2       promises that you believe Google made, were you
 3       aware of any statements or terms that Google made
 4       to that effect before you got involved in this
 5       case?
 6              A.   I'm not sure I understand the question.
 7              Q.   So at the time that -- well, let's take
 8       the point in time when you clicked on that Facebook
 9       ad.    Okay?
10              A.   Okay.
11              Q.   At that point in time, you were already
12       aware of having seen some statement from Google
13       that you can recall said, "We won't sell your
14       personal information" or something to that effect,
15       or did you only learn that as part of getting
16       involved in this case?
17                   MR. STRAITE:      Objection.           Compound.
18                   THE WITNESS:      I'm fairly certain that I
19       have run into the statement showing here that says
20       "We don't sell your personal information to
21       anyone," and I'm pretty sure I've seen that prior
22       to being involved in this lawsuit.
23       BY MR. SOMVICHIAN:
24              Q.   Okay.    But you couldn't specify where you
25       saw that, could you?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 75 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 157

 1              A.   No.
 2              Q.   And you couldn't identify a specific web
 3       page for me where you saw that.               Right?
 4              A.   No.
 5              Q.   And it doesn't seem like it would have
 6       been this page that's in front of you where you saw
 7       something like that.        Fair?
 8              A.   That's right.
 9              Q.   Okay.    In the middle -- so you're on the
10       right page under the same heading that we were
11       looking at, and in the second middle paragraph, the
12       last sentence of that paragraph reads, quote:
13                   "And if you don't want to see
14              personalized ads at all, you can turn them
15              off at any time."
16                   Do you see that, sir?
17              A.   Yes.
18              Q.   Does the concept of personized ads mean
19       anything to you in the context of Google?
20                   MR. STRAITE:      Objection.           Vague.
21                   THE WITNESS:      Yes.
22       BY MR. SOMVICHIAN:
23              Q.   What do you understand "personalized ads"
24       to be specifically in the context of Google ads?
25                   MR. STRAITE:      Objection.           Calls for

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 76 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 183

 1       Objection.      Calls for speculation.              Objection.
 2       Calls for a legal conclusion.
 3                   THE WITNESS:      Yes.
 4       BY MR. SOMVICHIAN:
 5              Q.   Are you seeking to represent those kinds
 6       of people in this case?
 7                   MR. STRAITE:      Objection.           Calls for a
 8       legal conclusion.       Objection.        Vague.
 9                   THE WITNESS:      Yes.
10       BY MR. SOMVICHIAN:
11              Q.   Do you think somebody who wants their IP
12       address information to be used so that they can
13       receive ads about their approximate location should
14       be compensated in some way?
15              A.   Yes.
16                   MR. STRAITE:      Objection.           Vague.
17       Objection.      Calls for speculation.              Objection.
18       Calls for a legal conclusion.
19       BY MR. SOMVICHIAN:
20              Q.   Why is that, sir?
21              A.   I don't believe that they fully understand
22       how much of their information is being affected the
23       way it is.
24              Q.   Now, are you talking about types of
25       information other than IP address?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 77 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 184

 1              A.   That's right.
 2              Q.   Okay.    But focused just on IP address, if
 3       somebody understands that their IP address can be
 4       used to determine the approximate location and they
 5       prefer to get ads based on their approximate
 6       location, do you think that they should be
 7       compensated some amount of money just because their
 8       IP address is actually used in that way?
 9                   MR. STRAITE:      Objection; calls for
10       speculation.      Objection; calls for a legal
11       conclusion.      Objection; vague.
12                   THE WITNESS:      Yes.
13       BY MR. SOMVICHIAN:
14              Q.   Okay.    Explain why you think that.
15                   MR. STRAITE:      Same objections.
16                   THE WITNESS:      I do feel it's only fair
17       that if they're being affected the way that they
18       are, they should still be compensated for it.
19       BY MR. SOMVICHIAN:
20              Q.   But how are they being affected if that's
21       something that they want to receive; meaning to
22       receive ads based on their approximate location as
23       determined from their IP address?
24                   MR. STRAITE:      Objection.           Calls for a
25       legal conclusion.       Calls for expert opinion.

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     Case 4:21-cv-02155-YGR   Document 546-12       Filed 07/14/23   Page 78 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 185

 1                   THE WITNESS:       I don't believe that
 2       everyone affected is fully aware of how much
 3       they're affected by this.
 4       BY MR. SOMVICHIAN:
 5              Q.   Objection.     Calls for hypothetical.              Calls
 6       for expert opinion.
 7                   THE WITNESS:       They may understand that if
 8       they were to order food, their -- there will be
 9       restaurants that can know their approximate
10       location, but there are other websites they would
11       probably prefer have them not know and aren't fully
12       aware that these websites do, in fact, know that --
13       their approximate location.
14       BY MR. SOMVICHIAN:
15              Q.   So you would want people to have the
16       ability to control which websites are able to use
17       location information and which cannot.                  Right?
18                   MR. STRAITE:       Objection; calls for expert
19       testimony.      Objection; vague.
20                   THE WITNESS:       Yeah.
21                   MR. STRAITE:       And calls for speculation.
22       BY MR. SOMVICHIAN:
23              Q.   Are you aware of whether there are
24       currently existing ways for Google account holders
25       to do that?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23    Page 79 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 289

 1       practices that you're complaining about in this
 2       case?
 3                   MR. STRAITE:      Objection.           Vague.
 4       Objection.      Calls for a legal conclusion and expert
 5       testimony.
 6                   THE WITNESS:      Yes.
 7       BY MR. SOMVICHIAN:
 8              Q.   How were you injured, in your view?
 9                   MR. STRAITE:      Same objections.
10                   THE WITNESS:      The terms of agreement as
11       set by Google were that they would not sell
12       personal information to third parties and then did
13       exactly that.
14       BY MR. SOMVICHIAN:
15              Q.   But how were you injured by that?
16                   MR. STRAITE:      Same objections.
17                   THE WITNESS:      In my opinion, they should
18       not be doing that.
19       BY MR. SOMVICHIAN:
20              Q.   Okay.    I understand your position that
21       Google shouldn't be doing that, but how were you
22       harmed by the alleged violation that you're
23       complaining about, Mr. Valencia?
24                   MR. STRAITE:      Same objections.
25                   THE WITNESS:      I don't know how to answer

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 80 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 290

 1       this.      The only way that I can say it is that
 2       they -- that Google should not have done something
 3       explicitly said that they wouldn't do this and then
 4       turned around and did exactly that.
 5       BY MR. SOMVICHIAN:
 6              Q.    But --
 7              A.    My information is my own, and if they use
 8       it, that's already an injury in my view.
 9              Q.    What is?
10              A.    My personal information, them turning
11       around and saying -- them saying that they will
12       never sell my personal information and then turning
13       around and doing so.
14              Q.    Let me ask it this way:            You're asking the
15       court in this case to do something for you.                    Right?
16              A.    That's right.
17              Q.    And what is that?
18                    Are you asking the court to give you
19       money?
20              A.    Not necessarily.        I feel that if this
21       practice continues, then I should get something out
22       of it; but, if anything, this practice needs to
23       stop.
24              Q.    Okay.    We'll come back to the practices.
25                    But in terms of any requests for financial

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 81 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 291

 1       compensation that you're making, are you making a
 2       request that the court give you financial
 3       compensation of some kind?
 4              A.   No.
 5              Q.   Are you seeking financial compensation on
 6       behalf of anybody else?
 7              A.   No.
 8              Q.   Are you asking the court in this case to
 9       award money to the other people who are similarly
10       situated to you?
11              A.   I'm only looking to get what everyone who
12       was affected, including anyone not directly in this
13       lawsuit, is entitled to.
14              Q.   Right.    And I'm trying to find out what
15       you think everybody is entitled to.
16                   Is it money?
17              A.   Yes.
18              Q.   Okay.    So I think we flip-flopped here,
19       but it was probably asking the questions in a
20       confusing way.
21                   So you are asking for money.             Right?
22              A.   Yes.
23              Q.   For yourself, what are you asking for?
24              A.   Nothing else other than what the
25       lawsuit -- what the other -- the entire class is

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 82 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 292

 1       entitled to.
 2              Q.   Okay.    And for -- I understand you're not
 3       asking that you get more than other people.                   Right?
 4              A.   That's right.
 5              Q.   Okay.    But what are you asking to get
 6       individually?
 7                   MR. STRAITE:      Objection.
 8       BY MR. SOMVICHIAN:
 9              Q.   I understand it's not more than other
10       people.
11                   What are you asking to get?
12                   MR. STRAITE:      Objection.           Asks for expert
13       testimony.
14                   THE WITNESS:      I don't feel that I'm asking
15       for really anything.
16       BY MR. SOMVICHIAN:
17              Q.   Okay.    I -- I'm sorry, Mr. Valencia.              I'm
18       confused.
19                   You are asking for money, though.               Right?
20              A.   No more than anyone else is entitled to.
21              Q.   Okay.    So how are you asking the court to
22       calculate the amount of money to give to you?
23                   MR. STRAITE:      Literally asking for expert
24       testimony.      Objection.
25                   THE WITNESS:      That's not something I think

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 83 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 295

 1       BY MR. SOMVICHIAN:
 2              Q.   Is it your position that everybody that
 3       you're trying to represent should get the exact
 4       same amount, even if they might be in different
 5       situations in terms of the amount of information or
 6       the type of information that was shared about them?
 7                   MR. STRAITE:      Same objections.
 8                   THE WITNESS:      Yes.
 9       BY MR. SOMVICHIAN:
10              Q.   In terms of the changes to Google
11       practices that you alluded to earlier, can you be
12       more specific about what you are asking the court
13       to do in this case?
14              A.   I'm asking the court to -- to either do
15       something to stop this practice or at least allow
16       people to get something out of it.
17              Q.   And "get something out of it," you're
18       referring back to the money?
19              A.   That's right.
20              Q.   Have you considered whether there are --
21       strike that.
22                   Mr. Valencia, do you believe you're at
23       risk of future harm from Google's practices?
24                   MR. STRAITE:      Objection.           Calls for
25       speculation and expert testimony.

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     Case 4:21-cv-02155-YGR    Document 546-12      Filed 07/14/23   Page 84 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                      Page 296

 1                   THE WITNESS:       Yes, I do.
 2       BY MR. SOMVICHIAN:
 3              Q.   And does that concern have to do with
 4       ongoing use of your personal information?
 5                   That's what you're concerned about?
 6              A.   Yes.
 7              Q.   Have you ever considered whether there are
 8       existing ways for you to prevent that?
 9              A.   Can I hear the question again?
10              Q.   Have you ever considered whether there are
11       existing ways for you to prevent the alleged uses
12       of information that you're concerned about?
13              A.   I have.
14              Q.   Tell me about what you've considered.
15              A.   I have considered possibly turning off ad
16       personalization.
17              Q.   Okay.    You -- I think you testified
18       earlier that you had considered it but didn't think
19       it would do much.        Right?
20              A.   That's right.
21              Q.   Okay.    Is there more to it than what you
22       previously described?
23              A.   I've considered it, but I am not fully
24       convinced that it will really have a -- make any
25       kind of a difference in the ads.

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 85 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 301

 1                   So unless your counsel has anything, I
 2       think we can wrap up for the day.
 3                       EXAMINATION BY MR. STRAITE
 4       BY MR. STRAITE:
 5              Q.   Mr. Valencia, could you please find
 6       Exhibit 4, which is the complaint?                 This is the
 7       very first exhibit that we saw at the beginning.
 8                   Put that -- you can put that document in
 9       front of you and the rest to the side.                 I'll put
10       them in order.
11              A.   Okay.
12              Q.   Mr. Valencia, do you recall questions
13       related to Exhibit 4, of the consolidated class
14       action complaint?
15              A.   Yes.
16              Q.   And at the top of the document, you see
17       the date that says "Filed 8/27/21"?
18              A.   Yes.
19              Q.   And you testified that you saw and
20       approved a draft of this before this document was
21       filed.
22              A.   I believe so.
23              Q.   And in that process of approving this
24       document, were the communications you had with
25       James Ulwick?

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 86 of 87

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 302

 1              A.   Yes.
 2              Q.   Does this now refresh your recollection of
 3       when you first spoke with Mr. Ulwick in this case?
 4              A.   Yes.
 5              Q.   So it was before August 2021.
 6                   MR. SOMVICHIAN:       Leading.
 7                   MR. STRAITE:      Overruled.
 8                   THE WITNESS:      Yes.
 9                   MR. STRAITE:      Thank you.           Nothing further.
10                      EXAMINATION BY MR. SOMVICHIAN
11       BY MR. SOMVICHIAN:
12              Q.   Okay.    I think what you're trying to
13       correct is a prior answer you gave about 2022 being
14       the time when you first got involved.                  Right?
15              A.   That's right.
16                   MR. SOMVICHIAN:       Okay.       That's fine.
17                   MR. STRAITE:      Before we go off the record,
18       I just want to thank the gracious hospitality of
19       the Cooley team, as always.            I want that on the
20       record.     We appreciate it.
21                   MR. SOMVICHIAN:       You're welcome.          Thank
22       you.
23                   THE VIDEO OPERATOR:          Going off the record.
24       The time now is 6:05.
25                   (Time noted, 6:05 P.M.)

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     Case 4:21-cv-02155-YGR   Document 546-12      Filed 07/14/23   Page 87 of 87

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                     Page 304

 1                        CERTIFICATE OF REPORTER
 2              I, HOLLY THUMAN, a Certified Shorthand Reporter,
 3       hereby certify that the witness in the foregoing
 4       deposition was by me duly sworn to tell the truth, the
 5       whole truth, and nothing but the truth in the
 6       within-entitled cause; that said deposition was taken
 7       down in shorthand by me, a disinterested person, at the
 8       time and place therein stated; and that the testimony
 9       of said witness was thereafter reduced to typewriting,
10       by computer, under my direction and supervision;
11              That before completion of the deposition review of
12       the transcript [] was [X] was not requested/offered.
13       If requested, any changes made by the deponent (and
14       provided to the reporter) during the period allowed are
15       appended hereto.
16              I further certify that I am not of counsel or
17       attorney for either or any of the parties to the said
18       deposition, nor in any way interested in the event of
19       this cause, and that I am not related to any of the
20       parties thereto.
21
22       DATED: 12/29/2022
23
24
              <%11978,Signature%>
25              HOLLY THUMAN, CSR
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